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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    UNITED STATES OF AMERICA,                            CASE NO. CR17-0203-JCC
10                           Plaintiff,                    MINUTE ORDER
11            v.

12    ROBIN PERRY,

13                           Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Defendant Robin Perry’s unopposed motion to
18   continue the pretrial motions filing date and trial date (Dkt. No. 109). Having considered the
19   motion, Defendant’s waiver of speedy trial, and the relevant record, the Court hereby GRANTS
20   the motion and FINDS as follows:
21          (a) Taking into account the exercise of due diligence, a failure to grant a continuance in
22   this case would deny defense counsel the reasonable time necessary for effective preparation due
23   to recent production of evidence and counsel’s need for more time to review this evidence, as set
24   forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and
25          (b) a failure to grant such a continuance in this proceeding would likely result in a
26   miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and


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 1          (c) the additional time requested is a reasonable period of delay, as the defendant has

 2   requested more time to prepare for trial, to investigate the matter, to gather evidence material to

 3   the defense, and to consider possible defenses; and

 4          (d) the ends of justice will best be served by a continuance, and the ends of justice

 5   outweigh the best interests of the public and the defendant in any speedier trial, as set forth in 18

 6   U.S.C. § 3161(h)(7)(A); and

 7          (e) the additional time requested between the current trial date of January 29, 2019 and

 8   the new trial date is necessary to provide counsel for the defendant the reasonable time necessary
 9   to prepare for trial, considering newly produced discovery and the facts set forth above; and
10          (f) the period of delay from the date of this order to the new trial date is excludable time
11   pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (h)(7)(B)(iv).
12   IT IS THEREFORE ORDERED that the trial date in this matter shall be continued to March 12,
13   2018, and that pretrial motions shall be filed no later than February 5, 2018.
14

15          DATED this 14th day of December 2017.
16                                                           William M. McCool
                                                             Clerk of Court
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                                                             s/Tomas Hernandez
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                                                             Deputy Clerk
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